Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 1 of 9 PageID: 1186



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                          :
  SUMITOMO DAINIPPON PHARMA,              :
  CO., LTD., et al.,                      :       Civil Action No. 15-280 (SRC) (CLW)
                                          :       Civil Action No. 15-281 (SRC) (CLW)
          Plaintiffs,                     :       Civil Action No. 15-6401 (SRC) (CLW)
                                          :
                      v.                  :       (Consolidated)
                                          :
  EMCURE PHARMACEUTICALS LTD.,            :
  et al.,                                 :
                                          :
          Defendants.                     :
  _______________________________________ :




                    MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANTS’ MOTION TO EXCLUDE
             DECLARATIONS AND TESTIMONY OF DR. STEPHEN DAVIES



BLANK ROME LLP                  CAESAR RIVISE, PC                  PATUNAS LAW LLC
Stephen M. Orlofsky             Salvatore Guerriero                Michael E. Patunas
David C. Kistler                Robert S. Silver (Pro Hac Vice)    24 Commerce St., Suite 606
New Jersey Resident Partners    Pei-Ru Wey (Pro Hac Vice)          Newark, NJ 07102
301 Carnegie Center, 3rd Fl.    1635 Market Street                 mpatunas@patunaslaw.com
Princeton, NJ 08540             12th Floor - Seven Penn Ctr.
Orlofsky@BlankRome.com          Philadelphia, PA 19103-2212        Of Counsel:
Kistler@BlankRome.com           sal@crbcp.com                      GOODWIN PROCTER LLP
                                                                   Ira J. Levy
Attorneys for Defendants        Attorneys for Defendant            Cynthia Lambert Hardman
Emcure Pharmaceuticals, Ltd.    InvaGen Pharmaceuticals, Inc.      Brian J. Prew
and Heritage Pharma Labs Inc.                                      Linnea P. Cipriano
(formerly known as Emcure                                          The New York Times Building
Pharmaceuticals USA, Inc.)                                         620 Eighth Avenue
                                                                   New York, NY 10018

                                                                   Attorneys for Defendants Teva
                                                                   Pharmaceuticals USA, Inc. and
                                                                   Teva Pharmaceutical Industries,
                                                                   Ltd.
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 2 of 9 PageID: 1187



                                              TABLE OF CONTENTS



     I.     INTRODUCTION .........................................................................................................1

     II.    DR. DAVIES’ DECLARATION(S) AND TESTIMONY SHOULD BE EXCLUDED
            BECAUSE PLAINTIFFS FAILED TO COMPLY WITH THE EXPERT
            DISCLOSURE REQUIREMENTS OF THE LOCAL PATENT RULES ....................2

     III.   CONCLUSION ..............................................................................................................5




                                                                i
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 3 of 9 PageID: 1188




                                                  TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
  CASES

  Source Search Techs., LLC v. Kayak Software Corp.,
     2014 U.S. Dist. LEXIS 1008 (D.N.J. Jan. 6, 2014) ...................................................................2

  OTHER AUTHORITIES

  Local Patent Rule 4.2 .......................................................................................................................5

  Local Patent Rule 4.2(b) ..................................................................................................1, 2, 3, 4, 5

  Local Patent Rules 4.2(c) .............................................................................................................3, 5

  Local Patent Rule 4.3 .......................................................................................................................1

  Local Patent Rule 4.3(f) ...............................................................................................................3, 5




                                                                       ii
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 4 of 9 PageID: 1189



         Defendants Emcure Pharmaceuticals Ltd., Heritage Pharma Labs Inc., InvaGen

  Pharmaceuticals, Inc., Teva Pharmaceuticals USA, Inc. and Teva Pharmaceutical Industries, Ltd.

  (collectively, “Defendants”), respectfully move to exclude the opening and any answering expert

  declarations of Dr. Stephen Davies and to preclude Dr. Davies from testifying on claim

  construction issues in this matter.

  I.     INTRODUCTION.

         Plaintiffs Sumitomo Dainippon Pharma Co., Ltd. and Sunovion Pharmaceuticals Inc.’s

  (“Plaintiffs”) disclosure of Dr. Davies’ expert testimony and their reliance on the same are

  untimely, improper, and a violation of this District Court’s Local Patent Rules.

         Under Local Patent Rule 4.2(b), Plaintiffs were required to identify and describe the

  expert testimony on which they intended to rely when the parties initially exchanged their claim

  constructions on April 6, 2016. At that time, Plaintiffs failed to notify Defendants of Dr. Davies’

  proposed testimony. Plaintiffs were afforded another opportunity to disclose Dr. Davies under L.

  Pat. R. 4.2(c), within 14 days of receiving Defendants’ preliminary proposed claim construction

  and corresponding identification of supporting evidence.        Again, Plaintiffs failed to notify

  Defendants of Dr. Davies’ proposed testimony. Next, the parties began working on the Joint

  Claim Construction and Prehearing Statement (“Joint Statement”) required under L. Pat. R. 4.3.

  At this point, Plaintiffs, again, failed to identify Dr. Davies as a witness, and in fact represented

  that it did not anticipate calling any witnesses at a Markman hearing. It was not until two (2)

  days before the filing of the Joint Statement that, in an about-face, Plaintiffs surprised

  Defendants by stating for the first time their intention to rely on expert testimony. Then, on the

  next day Plaintiffs belatedly identified Dr. Davies and a description of the substance of his

  proposed testimony.



                                                   1
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 5 of 9 PageID: 1190



         For these reasons and the reasons set forth below, Dr. Davies’ declaration(s) and

  testimony should be excluded.

  II.    DR. DAVIES’ DECLARATION(S) AND TESTIMONY SHOULD BE EXCLUDED
         BECAUSE PLAINTIFFS FAILED TO COMPLY WITH THE EXPERT
         DISCLOSURE REQUIREMENTS OF THE LOCAL PATENT RULES.

         “The Local Patent Rules for the District of New Jersey were created to further the goal of

  full, timely discovery and provide all parties with adequate notice and information with which to

  litigate their cases, not to create supposed loopholes through which parties may practice litigation

  by ambush.” Source Search Techs., LLC v. Kayak Software Corp., No. 11-3388 (FSH), 2014

  U.S. Dist. LEXIS 1008, at *7 (D.N.J. Jan. 6, 2014) (quotation and citations omitted). With their

  “cat and mouse” identification and disclosure of Dr. Davies’ testimony, Plaintiffs have violated

  the letter and spirit of the District of New Jersey Local Patent Rules providing a schedule for the

  sequence of production—specifically, the disclosure of expert testimony—related to claim

  construction.

         Local Patent Rule 4.2(b) required Plaintiffs to identify their Markman expert and his/her

  proposed testimony when the parties initially exchanged claim construction positions:

         At the same time the parties exchange their respective “Preliminary Claims
         Constructions,” each party shall . . . designate any supporting extrinsic evidence
         including . . . testimony of all witnesses including expert witnesses. . . . With
         respect to all witnesses including experts, the identifying party shall also
         provide a description of the substance of that witness’ proposed testimony that
         includes a listing of any opinions to be rendered in connection with claim
         construction.

  L. Pat. R. 4.2(b) (emphasis added). Plaintiffs did not identify Dr. Davies or the substance of his

  testimony when Plaintiffs served their Preliminary Claim Constructions and Identification of




                                                   2
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 6 of 9 PageID: 1191



  Supporting Evidence on April 6, 2016. (Guerriero Decl. at Ex. 1.1) Not only did Plaintiffs fail to

  identify supporting expert testimony, Plaintiffs specifically objected to the use of any expert

  testimony to claim construction, arguing that the intrinsic evidence was “clear.” (Id. at 2-3.)

         Local Patent Rule 4.2(c) gave Plaintiffs another opportunity to disclose Dr. Davies and

  his proposed testimony within 14 days after receiving Defendants’ Preliminary Proposed Claim

  Construction:

         Not later than 14 days after the parties exchange the “Preliminary Claim
         Constructions” under this rule, the parties shall exchange an identification of all
         intrinsic evidence and extrinsic evidence that each party intends to rely on to
         oppose any other party’s proposed construction, including, without limitation,
         the evidence referenced in L. Pat. R. 4.2(b).

  L. Pat. R. 4.2(c) (emphasis added). Once more, Plaintiffs objected to the use of expert testimony

  as “inappropriate,” and argued that “any expert opinions or testimony sought to be offered . . .

  that was not properly disclosed” should be precluded. (Guerriero Decl. at Ex. 22at 3.) Plaintiff,

  again, did not identify Dr. Davies or a description of his proposed testimony on April 20, 2016.

  (Guerriero Decl. at Ex. 2.) Instead, Plaintiffs provided the following insufficient, boilerplate

  statement: “Sunovion reserves the right to call one or more experts to testify in rebuttal to any

  expert testimony Defendants may seek to introduce.” (Id. at 5.) There was, however, no basis

  for Plaintiffs to hold back or “reserving” any rebuttal expert testimony, since Plaintiffs’ already

  possessed Defendants’ opening preliminary claims constructions and supporting evidence. More

  significant, Plaintiffs’ perfunctory “reservation of the right” fell woefully short of Rule 4.2(b)’s




  1
          A true and correct copy of Plaintiffs’ April 6, 2016 Preliminary Claim Constructions and
  Identification of Supporting Evidence is annexed as Exhibit 1 to the accompanying declaration
  of Salvatore Guerriero (“Guerriero Declaration” or “Guerriero Decl.”).
  2
          A true and correct copy of Plaintiffs’ April 20, 2016 Identification of Rebuttal Claim
  Construction Evidence is annexed as Exhibit 2 to the Guerriero Declaration.

                                                   3
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 7 of 9 PageID: 1192



  requirement that Plaintiffs provide a description of the substance of any expert witness’ proposed

  testimony and a listing of any opinions to be rendered.

         In accordance with L. Pat. R. 4.2(d) and 4.3, on April 26, 2016, Plaintiffs provided

  Defendants with Plaintiffs’ portion of the Joint Statement. (Guerriero Decl. at Ex. 3.3) In this

  disclosure, consistent with their previous disclosures under L. Pat. R. 4.2(b) and (c), Plaintiffs

  specifically stated that they “do[] not anticipate calling any witnesses at the Claim Construction

  hearing.” (Id. at 5.) On May 2, 2016, two days before the Joint Statement was due, the parties

  conferred telephonically in connection with the preparation of the Joint Statement, during which

  Defendant confirmed their intent to rely upon expert testimony as stated in their L. Pat. R. 4.2(b)

  and (c) disclosures. (Guerriero Decl. at ¶ 5.)   Plaintiffs, then, surprised Defendants by stating

  for the first time, their intention to rely on expert testimony. (Id.) On the next day, Plaintiffs

  belatedly provided a description of the substance of Dr. Davies’ proposed testimony in a draft of

  a proposed Joint Statement. (Guerriero Decl. at ¶ 6, Ex. 4.4)

         The Local Patent Rules make clear that Plaintiffs may not rely on any evidence in any of

  its claim construction submissions unless such evidence was previously disclosed in accordance

  with Local Patent Rule 4.2: “Any evidence that is not identified under L. Pat. R. 4.2(a) through

  4.2(c) inclusive shall not be included in the Joint Claim Construction and Prehearing Statement.”

  L. Pat. R. 4.3(f) (emphasis added). As this language indicates, the procedural requirements of L.

  Pat. R. 4.3(f) are not subject to the whims of Plaintiffs—rather they are mandatory. Allowing




  3
         True and correct copies of an April 26, 2016 email from Dominick DiSabatino to counsel
  for Defendants and the attached Joint Claim Construction and Prehearing Statement are annexed
  as Exhibit 3 to the Guerriero Declaration.
  4
         True and correct copies of a May 3, 2016 email from Imtiaz Yakub to counsel for
  Defendants and the attached revised Joint Claim Construction and Prehearing Statement are
  annexed as Exhibit 4 to the Guerriero Declaration.

                                                   4
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 8 of 9 PageID: 1193



  Plaintiffs to rely upon Dr. Davies’ declaration(s) and testimony in view their gamesmanship

  would subvert the letter and intent of the Local Patent Rules.

         This District Court’s Local Patent Rules set up a straightforward process for parties to

  disclose expert opinions and testimony on which they intend to rely during claim construction.

  Plaintiffs have taken a strict view of this District Court’s Local Patent Rules (see, e.g., ECF No.

  62), have condemned alleged “cat and mouse” games in this case (see ECF No. 70 at 24:15), and,

  as noted above, have acknowledged that “any expert opinions or testimony sought to be

  offered . . . that was not properly disclosed” should be excluded. (Guerriero Decl. at Ex. 2 at 3.)

  There is nothing unfair about holding Plaintiffs to their own standards. Plaintiffs did not follow

  the straightforward, yet exacting requirements of Local Patent Rules 4.2(b)-(c) and 4.3(f), and

  accordingly, should be precluded presenting and relying on any expert opinion and testimony.

  III.   CONCLUSION.

         For the forgoing reasons, Defendants respectfully request that the Court exclude the

  opening and any answering expert declarations of Dr. Davies from the record, and preclude

  Plaintiffs from offering or presenting expert testimony or evidence from Dr. Davies in

  connection with Markman or claim construction issues in this case.

                                   *       *       *      *        *




                                                   5
Case 2:15-cv-00280-SRC-CLW Document 98-1 Filed 08/15/16 Page 9 of 9 PageID: 1194



  Dated: August 15, 2016                          s/ Salvatore Guerriero
                                                  CAESAR RIVISE, PC
                                                  Salvatore Guerriero
                                                  Robert S. Silver (Pro Hac Vice)
                                                  Pei-Ru Wey (Pro Hac Vice)
                                                  1635 Market Street
                                                  12th Floor - Seven Penn Center
                                                  Philadelphia, PA 19103-2212

                                                  Attorneys for Defendant
                                                  InvaGen Pharmaceuticals, Inc.


  /s/ Michael E. Patunas                          s/ David C. Kistler
  PATUNAS LAW LLC                                 BLANK ROME LLP
  Michael E. Patunas                              Stephen M. Orlofsky
  24 Commerce Street, Suite 606                   David C. Kistler
  Newark, NJ 07102                                New Jersey Resident Partners
                                                  301 Carnegie Center, 3rd Floor
  Of Counsel:                                     Princeton, New Jersey 08540
  GOODWIN PROCTER LLP
  Ira J. Levy                                     Jay P. Lessler
  Cynthia Lambert Hardman                         Christopher K. Hu (Pro Hac Vice)
  Brian J. Prew                                   BLANK ROME LLP
  Linnea P. Cipriano                              The Chrysler Building
  The New York Times Building                     405 Lexington Avenue
  620 Eighth Avenue                               New York, New York 10174-0208
  New York, NJ 10018
                                                Attorneys for Defendants
  Attorneys for Defendant Teva Pharmaceuticals Emcure Pharmaceuticals, Ltd.
  USA, Inc. and Teva Pharmaceutical Industries, and Heritage Pharma Labs Inc.
  Ltd.




                                              6
